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                         UNITED STATES DISTRICT COURT
9
                        CENTRAL DISTRICT OF CALIFORNIA
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      SANTOS CORNELIO R.,                         )     Case No. CV 20-6268-SB-JEM
12                                                )
                                 Plaintiff,       )
13                                                )     ORDER ACCEPTING FINDINGS AND
                   v.                             )     RECOMMENDATIONS OF UNITED
14                                                )     STATES MAGISTRATE JUDGE
      KILOLO KIJAKAZI,                            )
15    Acting Commissioner of Social Security,     )
                                                  )
16                               Defendant.       )
                                                  )
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18          Pursuant to 28 U.S.C. § 636, the Court has reviewed the pleadings, the records on file,

19    and the Report and Recommendation of the United States Magistrate Judge. No Objections

20    to the Report and Recommendation were filed within the time allowed for Objections. The

21    Court accepts the findings and recommendations of the Magistrate Judge.

22          IT IS HEREBY ORDERED that Judgment shall be entered AFFIRMING the

23    Commissioner’s decision to deny Social Security Disability Insurance benefits to Plaintiff and

24    DISMISSING this action with prejudice.

25
               September 22, 2021
26    DATED:

27                                                       STANLEY BLUMENFELD, JR.
                                                      UNITED STATES DISTRICT JUDGE
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